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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 1:05CV00433-001
                                             )
       Plaintiff,                            )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
MICHAEL FROST,                               )
                                             )
       Defendant.                            )



       This matter was heard on August 2, 2011, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of his supervised

release. The defendant was present and represented by Attorney Gordon Friedman.

       The original violation petition was referred to United States Magistrate Judge George J.

Limbert [Doc. 192] on July 11, 2011, to conduct appropriate proceedings and for the issuance of

a Report and Recommendation. The Report and Recommendation was filed July 14, 2011 [Doc.

196]. The Report and Recommendation noted that defendant admitted to the violation and

recommended that this Court find defendant had violated his conditions of supervised release.

No objection to the Report and Recommendation was filed by either the plaintiff or defendant.

       This Court, on August 2, 2011, adopted the Report and Recommendation of the

Magistrate Judge and found defendant in violation of the conditions of supervised release as

follows:

               1) new law violation (possession with intent to distribute cocaine)
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               on / about April 9, 2010.

The Court noted the violation was a Grade A and defendant’s Criminal History Category was a

VI which placed him in a recommended range of 30 to 36 months of incarceration. Having

considered the factors in Section 3553 and the seriousness of the violation, defendant was

sentenced to a term of incarceration of 36 months. The Court, upon the motion of defense

counsel and with the consent of the government, ordered that this sentence be served concurrent

with the sentence imposed in Case No. 1:10cr00503. Defendant was granted credit for time

served in federal custody on the instant violation. Upon release from incarceration defendant’s

period of supervised release in this case shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.

       IT IS SO ORDERED.



Dated: August 3,2010                                  s/ James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE
